                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILE DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,                                 Case No. 3:02-cr-00053

 v.                                                JUDGE TODD J. CAMPBELL

 RANDALL R. PARKER,

        Defendant.



To:    The Honorable Todd Campbell

                           REPORT AND RECOMMENDATION

I.     Introduction

       By order entered May 24, 2016, the District Court referred to the Magistrate Judge Randall

Parker’s Motion to Return Seized Property. (Doc. Nos. 933, 936.)

       On January 23, 2004, a jury convicted Parker of nine charges involving drug trafficking

and money laundering, including the following counts of the Third Superseding Indictment:

       •   Count Two, Conspiracy to Distribute and Possess with Intent to Distribute Five
           Kilograms or More of Cocaine in violation of 21 U.S.C. §§ 841(a)(1), 846 and 18
           U.S.C.§ 2;

       •   Count Four, Conspiracy to Commit Money Laundering with Intent to Further Specified
           Unlawful Activity in violation of 18 U.S.C. § 1956(a)(1)(A)(i);

       •   Count Seven, Conspiracy to Commit Money Laundering with Intent to Disguise Drug
           Proceeds in violation of 18 U.S.C. §§ 2, 1956(h);

       •   Count Ten, Engaging in Monetary Transaction with Drug Proceeds in violation of 18
           U.S.C. §§ 1957, 2;

       •   Count Thirteen, Possession Within 1000 Feet of a School of Five Kilograms or More
           of Cocaine with Intent to Distribute in violation of 21 U.S.C.§§ 841(a)(1) and 860;

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       •   and Count Fifteen, Attempted Possession of Five Kilograms or More of Cocaine with
           Intent to Distribute in violation of 21 U.S.C.§ 846 and 18 U.S.C.§ 2.

(Doc. Nos. 394, 525.)

       The jury also found that Parker must forfeit $10,500,000 in United States currency based

on his convictions related to drug trafficking and $10,500,000 for those related to money

laundering. (Doc. No. 398.)

       Count Twenty-Five of the Third Superseding Indictment stated that if Parker were

convicted of any of the violations charged, as relevant here, in Counts Two, Thirteen, or Fifteen,

he:

       shall forfeit to the United States, pursuant to Title 21, United States Code, Section
       853, any and all property constituting or derived from any proceeds the said
       defendant obtained directly or indirectly as a result of said violation, and any and
       all property used or intended to be used in any manner or part to commit and to
       facilitate the commission of said offense . . . .

(Doc. No. 338, PageID# 714–15.) Count Twenty-Six included similar language with respect to

the money laundering counts, Counts Four, Seven, and Twelve. (Id. at 716.) The indictment

further provided that if any of the property described above proved inadequate or unobtainable as

set forth in 21 U.S.C. § 853(p)(1), the Government intended “to seek forfeiture of any other

property of said defendant[] up to the value of the above forfeitable property.” (Id. at 715, 717.)

       On January 29, 2004, the district court entered a Preliminary Order of Forfeiture which

included money judgments of $10,500,000 in United States currency for drug trafficking and

$10,500,000 for money laundering. (Doc. No. 387.) On April 15, 2016, the Government moved

for forfeiture as substitute property of a ring found on Parker’s property. (Doc. No. 926.) The

Government argued that the ring was subject to forfeiture because “due to the acts or omissions of

the defendant . . . the actual proceeds were transferred or sold to, or deposited with, a third party.”

(Doc. No. 927, PageID# 4184–85.) The district court then entered a Preliminary Order of

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Forfeiture authorizing the Secretary of the Treasury or his designee to seize as substitute property

“a men’s 14[-] carat gold diamond ring with a square face containing approximately 3.25 carat

total weight diamonds valued at approximately $12,000.” (Doc. No. 929, PageID# 4195.)

         On May 20, 2016, Parker filed a pro se Motion to Return Seized Property, arguing that the

Government lacked authority “to reopen [his] . . . forfeiture.” (Doc. Nos. 933, 939.) The

Government opposes the motion on the grounds that the ring is substitute property that qualifies

for forfeiture pursuant to 21 U.S.C. § 853(p) based on the unavailability due to Parker’s acts or

omissions of the property the Court ordered forfeited. (Doc. No. 935, PageID# 4223.) As further

explained below, the undersigned recommends that Parker’s Motion to Return Seized Property be

DENIED.

II.      Conclusions of Law

         Under 21 U.S.C. § 853(a), a defendant “shall forfeit . . . any property constituting, or

derived from, any proceeds” of certain crimes, including, as relevant here, violations of 21 U.S.C.

§§ 841, 846, and 860 and of 18 U.S.C. §§ 1956 and 1957. See 18 U.S.C. § 982(b)(1). If, because

of some act of the defendant, the Government cannot obtain specific property that is subject to

forfeiture, “the court shall order the forfeiture of any other property of the defendant.” 21 U.S.C.

§ 853(p)(2). Once the court determines all of the property that is subject to forfeiture, “it must

promptly enter a preliminary order of forfeiture” to that effect. Fed. R. Crim. P. 32.2(b)(2)(A).

To obtain an order forfeiting property as a substitute asset, the criminal forfeiture statute requires

the Government to show that, “as a result of any action or omission of the defendant,” forfeited

property:

      (A) cannot be located upon the exercise of due diligence;

      (B) has been transferred or sold to, or deposited with, a third party;



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    (C) has been placed beyond the jurisdiction of the court;

    (D) has been substantially diminished in value; or

    (E) has been commingled with other property which cannot be divided without difficulty.

21 U.S.C. § 853(p)(1).

        The Government was entitled to petition the Court for the inclusion of substitute property

under § 853(p) because “due to the acts or omissions of the defendant . . . the actual proceeds were

transferred or sold to, or deposited with, a third party,” (Doc. No. 927, PageID# 4184–85),

rendering the property ordered forfeited unavailable, see United States v. Coffman, 612 F. App’x

278, 282 (6th Cir. 2015). The Government complied with § 853(p) by submitting a motion and

affidavit establishing that the Government has been unable to locate the drug trafficking proceeds

that were forfeitable under § 853(a). (Doc. No. 927, PageID# 4184–85; Doc. No. 928, PageID#

4191–92.) The Government’s motion and accompanying affidavit satisfy § 853(p) by stating that

an investigation into the criminal proceeds and the assets currently held by Parker revealed that

“the actual proceeds have been transferred or sold to, or deposited with, a third party.” (Doc. No.

927, PageID# 4182–83; Doc. No. 928, PageID# 4190; Doc No. 928-1, PageID# 4193.) See United

States v. Gordon, 710 F.3d 1124, 1166 (10th Cir. 2013) (“The Government generally has little

difficulty in making the necessary showing [under § 853(p)].” (citation omitted)). Parker’s

argument that the Government lacked authority to move that the ring be forfeited is unavailing.

Federal Rule of Criminal Procedure 32.2(e) authorizes a court, “[o]n the government’s motion . .

. [to] at any time enter an order of forfeiture or amend an existing order of forfeiture. . . to include”

substitute property. Rule 32.2(e)(2) further directs that a court “must” enter such an order if the

government demonstrates that the property is subject to forfeiture as substitute property. The

Government has met this burden, as discussed above, and the Preliminary Order of Forfeiture for



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the $21 million judgment listed “any other property” of Parker as substitute assets subject to

forfeiture up to the amount of the judgment. (Doc. No. 386.)

       Parker’s argument that his lack of financial resources precludes forfeiture of the ring

similarly fails. The Sixth Circuit has held that under § 853, a money judgment may be entered

against a defendant who has no assets at the time of sentencing. United States v. Hampton, 732

F.3d 687, 691 (6th Cir. 2013) (citing a circuit consensus on this point). Finally, insofar as Parker

argues that “the only thing [he] had to pay was a $700” assessment fee, the judgment belies this

claim. (Doc. No. 525, PageID# 738 (“The defendant shall forfeit the defendant’s interest in the

following property to the United States: Count Twenty-Five (25): $10,500,000. Count Twenty-

Six (26): $10,500,000.”).)

       The Government gives no reason why it waited almost six years after discovery of the ring

to seize it as substitute property. Nonetheless, the language of Federal Rule of Criminal Procedure

32.2(e)(1)—“at any time”—permits this delay, perhaps in recognition of the fact that the

Government may not know that additional substitution of property is necessary until it seeks to

take possession of property and substitute property specified in prior orders of forfeiture. See

United States v. Hurley, 63 F.3d 1, 24 (1st Cir. 1995). The undersigned finds that Parker’s ring

was properly seized and forfeited as a substitute asset.

III.   Recommendation

       In light of the foregoing, the Magistrate Judge recommends that Parker’s Motion to Return

Seized Property (Doc. No. 933) be DENIED.

       Any party has fourteen (14) days from the receipt of this Report and Recommendation in

which to file any written objections to it with the District Court. Any party opposing said

objections shall have fourteen (14) days from receipt of any objections filed in which to file any



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responses to said objections. Fed. R. Civ. P. 72(b)(2). Failure to file specific objections within

fourteen (14) days of receipt of this Report and Recommendation can constitute a waiver of further

appeal of this Recommendation. Thomas v. Arn, 474 U.S. 140 (1985); Cowherd v. Million, 380

F.3d 909, 912 (6th Cir. 2004) (en banc).

       Entered this 17th day of October, 2016.

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                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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